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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                        Plaintiff,              )    4:07CR3169
                                                )
                        vs.                     )    ORDER FOR DISMISSAL
                                                )
ANA C. CALIX,                                   )
                                                )
                        Defendant.              )


       Pursuant to Motion of the United States (Filing No. 56), pursuant to Federal Rule of

Criminal Procedure 48(a), leave of court is granted for the filing of the dismissal of the

Indictment against ANA C. CALIX.

       IT IS ORDERED that the Motion to Dismiss the Indictment against defendant, ANA C.

CALIX, (Filing No. 56) is granted.

       June 10, 2008.                           BY THE COURT:

                                                s/ RICHARD G. KOPF
                                                United States District Judge
